Unpublished Decisions

Exhibit A

Case 2:17-cv-00688-NJ_ Filed 08/14/17 Page 1of11 Document 13-3

Onyango v. Downtown Entertainment, LLC, 525 Fed.Appx. 458 (2013)

525 Fed.Appx. 458
This case was not selected for
publication in, the Federal Reporter.
Not for Publication in West's Federal Reporter.

See Fed. Rule of Appellate Procedure 32.1
generally governing citation of judicial decisions
issued on or after Jan. 1, 2007. See also Seventh

Circuit Rule 32.1. (Find CTA7 Rule 32.1)
United States Court of Appeals,
Seventh Circuit.

Eric ONYANGO, Plaintiff—Appellant,
Yv.
DOWNTOWN ENTERTAINMENT,
LLC, Defendant—Appellee.

Nos. 12-3752, 13-1083.
|
Submitted May 9, 2013. °

After examining the briefs and the record, we have
concluded that oral argument is unnecessary. The
appeals are thus submitted on the briefs and the
record. See FED. R.APP. P. 34(a)(2)(C).

|
Decided May 10, 2013.

Synopsis

Background: Black patron brought action against club
owner under § 1981 alleging racial discrimination. The
United States District Court for the Northern District of
Illinois, Sharon J. Coleman, J., 2012 WL 3133565, struck
count seeking injunctive relief and denied patron's request
for leave to file another amended complaint adding
claims of retaliation and fraud. Patron filed interlocutory
appeals.

[Holding:| The Court of Appeals held that nonfinal
order denying black patron's request for injunctive relief
against club owner to prevent club from excluding him
from its places of public accommodation without lawful
justification and from appeasing non-black patrons at the
expense of violating contractual and civil rights of black
patrons was not appealable.

Appeals dismissed.

West Headnotes (2)

[1] Federal Courts
é= Injunction

Nonfinal order denying black patron's request
for injunctive relief against club owner to
prevent club from excluding him from its
places of public accommodation without
lawful justification and from appeasing non-
black patrons at the expense of violating
contractual and civil rights of black patrons
was not appealable; language in minute order
did not end patron's request for permanent
injunctive relief but simply stated that
complaint lacked sufficient detail for judge
to know whether patron had a substantial
likelihood of prevailing on the merits of his
claim. 28 U.S.C.A. § 1292(a)(1); 42 ULS.C.A.
§ 1981.

Cases that cite this headnote _

[2] Federal Courts
g= Pleading
District court order refusing to permit
plaintiff in civil rights action to amend his
complaint for a sixth time was interlocutory
and nonappealable.

Cases that cite this headnote

*459 Appeals from the United States District Court for
the Northern District of Illinois, Eastern Division. No. 11
C 844, Sharon J. Coleman, Judge.

Attorneys and Law Firms
Eric Onyango, Chicago, IL, pro se.
Daniel P. Costello, Chicago, IL, for Defendant—Appellee.

Before JOEL M. FLAUM, Circuit Judge, DIANE S.
SYKES, Circuit Judge and JOHN DANIEL TINDER,
Circuit Judge.

Case 2:17-cv-00688-NJ_ Filed 08/14/17 Page 2 of 11 Document 13-3

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Onyango v. Downtown Entertainment, LLC, 525 Fed.Appx. 458 (2013)

ORDER

**1 We have consolidated two interlocutory appeals
filed by Eric Onyango in his lawsuit against Downtown
Entertainment. We dismiss both appeals for lack of
subject-matter jurisdiction.

Onyango paid $20 to enter a Chicago nightclub owned by
Downtown Entertainment. Inside the club he encountered
Maciej Lampe (a Pole who plays professional basketball
in Spain). Onyango (who is black) alleges that Lampe
shoved him and hurled a racial epithet after asking
Onyango to sell him drugs and being turned away.
Security personnel then forcibly removed Onyango, but
not Lampe. Onyango has sued Downtown Entertainment
under 42 U.S.C. § 1981 claiming racial discrimination. His
complaint also includes supplemental state-law claims for
breach of contract, assault, and negligence. Onyango says
that he suffered physical and emotional injuries, and also
has lost business opportunities because he no longer can
network at Downtown Entertainment's clubs.

[1] Onyango has amended his complaint five times.

The current iteration includes a “Count Six” entitled
“Plaintiffs Basis for Injunctory Relief.” This is not a
separate claim but rather an assertion that “[rJemedies
available at law, such as monetary damages, are
inadequate to compensate Plaintiff's injuries.” Onyango
thus demands in his “Prayer for Relief,” not only
damages, but also that Downtown Entertainment
“be permanently enjoined” from excluding him from
“its places of public accommodation without lawful
justification,” and from “appeasing non-black patrons.at
the expense of violating contractual *460 and civil rights
of black patrons.” ‘The district court entered a minute
order striking “Count Six” on the ground that Onyango
did not “plead facts sufficient for the Court to conclude
that there is a substantial likelihood that future violations
will occur.” Onyango filed a notice of appeal from this
minute order, which we have docketed as case No. 12—
3752. He then asked the district court for leave to filed
another amended complaint adding claims of retaliation
and fraud. When the court denied that request, Onyango
filed a second notice of appeal, which we have docketed
as case No. 13-1083.

An order denying injunctive relief may be appealable even
when the litigation in the district court is still ongoing.
See 28 U.S.C. § 1292(a)(1). But as a ground for taking
an interlocutory appeal, the denial of injunctive relief
provides only a narrow exception to the general rule
barring appeals from nonfinal decisions. Albert v. Trans
Union Corp., 346 F.3d 734, 737 (7th Cir.2003); Simon
Prop. Grp., L.P. v. mySIMON, Inc., 282 F.3d 986, 990
(7th Cir.2002). Only if the district court's decision is
definitive, i.e., the plaintiff will have no further chance of
obtaining the desired injunction from the district court,
does this court have jurisdiction over an interlocutory
appeal. Albert, 346 F.3d at 739; Simon Prop. Grp., 282
F.3d at 990-91; Parks v. Pavkovie, 753 F.2d 1397,1402~
03 (7th Cir.1985). (It should be noted that Onyango did
not file a timely appeal of the denial of his motion for
a preliminary injunction—No. 12-3752 involves only the
minute order addressing “Count Six.”)

**2 The language in the minute order entered by the
district court does not end Onyango's quest for permanent
injunctive relief. It simply says that Onyango's complaint
lacks sufficient detail for the judge to know whether he
has a substantial likelihood of prevailing on the merits.
The minute order should be understood as striking the
injunctive “count” as a separate, free-standing claim. But
Onyango might still get his injunction: An injunction
is a type of remedy, Sherwood ». Marquette Transp.
Co., 587 F.3d 841, 845 (7th Cir.2009); Dan B. Dobbs,
Law. of Remedies 223 (2d ed.1993), as distinct from ‘an
underlying claim for relief, see Guardians Ass'n vy. Civil
Sery. Comm'n, 463 U.S. 582, 595, 103 S.Ct. 3221, 77
L.Ed.2d 866 (1983); LaSalle Nat'l Bank vy. Metro. Life
Ins. Co., 18 F.3d 1371, 1376 (7th Cir.1994); Black's Law
Dictionary 251 (9th ed.2009) (defining “cause of action,”
or “claim,” as “a factual situation that entitles one person
to obtain a remedy in court”). Onyango should not
have characterized his request for injunctive relief as a
separate count of his complaint, and the district court's
order striking the injunctive “count” thwarts him only
from obtaining an injunction without succeeding on his
underlying § 1981 or supplemental claims—an impossible
feat in any event. Injunctive relief remains available to him
later in the litigation, that is, if he prevails on his remaining
substantive claims. See CustomGuide y. CareerBuilder,
LLC, 813 F.Supp.2d 990, 1002 (N.D.I11.2011).

[2] Wethus lack subject-matter jurisdiction over case No.
12-3752. We also lack jurisdiction over case No. 13-1083,

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- Onyango v. Downtown Entertainment, LLC, 525 Fed.Appx. 458 (2013)

since the district court's order refusing to permit Onyango
to amend his complaint for a sixth time is interlocutory
and fits no exception to the rule against appeals from
nonfinal decisions. See Gen. Ins. Co. of Am. v. Clark Mall
Corp., 644 F.3d 375, 379-80 (7th Cir.2011); Kerr-McGee

Chem. Corp. v. Lefton Iron & Metal Co., 570 F.3d 856, 525 Fed. Appx. 458, 2013 WL 1925692
857-58 (7th Cir.2009).

Accordingly, both appeals are DISMISSED.

All Citations

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Nicholson v. Conrail, Not Reported in F.Supp. (1987)

1987 WL 5406

1987 WL 5406
Only the Westlaw citation is currently available.
United States District Court,
N.D., Illinois, Eastern Division.

Peter NICHOLSON, Plaintiff,
Vv.
CONRAIL, Defendant.

No. 86 C 5551.

|
Jan. 14, 1987.

MEMORANDUM OPINION AND ORDER
WILLIAM T. HART, District Judge.

*1 Plaintiff Peter Nicholson brings this action against
defendant “Conrail,” presumably the Consolidated Rail
Corporation, seeking relief for alleged discrimination
under (1) Title VII of the Civil Rights Act of 1964, 42
U.S.C. § 2000e et seq., (2) the thirteenth amendment
to the United States Constitution, (3) the fourteenth
amendment, (4) 42 U.S.C. § 1981, (5) 42 U.S.C. § 1983,
(6) 42 U.S.C. § 1985, and (7) 42 U.S.C. § 1988. Plaintiff,
who is black, alleges that he was employed by defendant
as a police officer and was fired by defendant on January
19, 1985, because he is black. The complaint also alleges
that defendant failed to make plaintiff “a permanent
employee” because of his race, suggesting that he was
employed as a temporary or probationary employee until
he was fired.

Defendant now moves to dismiss the complaint pursuant
to Federal Rule of Civil Procedure 12(b)(6) for failure to
state a claim upon which relief can be granted, raising
various issues in support of its motion, and asks for
sanctions pursuant to Rule 11. Plaintiff's response fails to
address any of the legal issues raised by defendant other
than to suggest that he will cure all defects in the complaint
by amendment.

Defendant raises one issue addressed to all bases for relief.
It contends that plaintiff waived any right he had to
contest his dismissal by signing an agreement not to sue
as a condition of employment. However, even if such a

“waiver” were properly before the court, | it would be

in violation of public policy and therefore unenforceable.
Foreman v. Holsman, 10 II App.3d 551, 141 N.E.2d 31,
32 (1957) (“the benefits of a statute may not be waived by
an individual in cases where the statute was enacted for the
protection of the public generally.”); Chubb v. Amax Coal
Co., 125 Ti App.3d 682, 80 II Dec. 917, 921, 466, N.E.2d
369, 373 (Sth Dist. 1984) (“a release covering all claims
that might later arise between the parties ‘would constitute
aconsent to the foregoing of legal protection for the future
and would plainly be against public policy.’ ”). Therefore
such a “waiver” does not preclude this action.

However, plaintiff's complaint fails for other reasons:

(1) Plaintiff's claim is dismissed to the extent that itis based
on the thirteenth amendment because no independent
cause of action exists under the thirteenth amendment.
E.g,, Westray v. Porthold, Inc., 586 F.Supp. 834, 838-
39 (D.Md.1984); Clark v. Universal Builders, Inc., 409
F.Supp. 1274, 1279 (N.D-IlL.1976),

(2) Plaintiffs claim is dismissed as to the fourteenth
amendment for failure to satisfy the requirement of “state
action.” Although plaintiff alleges that defendant acted
“under color of law,” he provides no factual allegations
to support that conclusory allegation. Plaintiff alleges that
defendant is “regulated by the U.S. Federal Government,”
but the restrictions of the fourteenth amendment do not

‘ apply to the federal government. Bolling v. Sharpe, 374

USS. 497, 499 (1954); Simpson v. United States, 342 F.2d
643, 643 n. 1 (7th Cir.1965).7

*2 (3) Plaintiff's claim is dismissed as to 42 U.S.C. § 1983

for failure to satisfy the requirement of “state action.”
Edgar v. Inland Steel Co., 744 F.2d 1276, 1278 (7th Cir.
1984).

(4) Plaintiff's claim is dismissed as to 42 U.S.C. § 1985 for
failure to allege any material facts to support a claim of
conspiracy. Jafree v. Barber, 689 F.2d 640, 644 (7th Cir.
1982).

(5) Plaintiff's claim is dismissed as to Title VII for failure
to allege that plaintiff was qualified for the position in
question. McDonnell Douglas Corp. v. Green, 411 U.S.
792, 802 (1973); Germane v. Heckler, 804 F.2d 366, 368
(7th Cir. 1986).

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1987 WL 5406

- (6) Plaintiff's claim is dismissed as to 42 U.S.C. § 1981 for
failure to allege that plaintiff was qualified for the position
in question. Flowers v. Crouch-Walker Corp., 552 F.2d
1277, 1281 n.3 (7th Cir. 1977) (applying McDonnell
Douglas analysis to § 1981 claims for disparate treatment);
Bailey v. Binyon, 583 F. Supp. 923 (N.D. IIL 1984) (same).

(7) 42 U.S.C. § 1988 does not create an independent
cause of action and instead deals with the procedure to
be followed in civil rights actions brought under other
statutory provisions. Moor v. Count of Alameda, 411 U.S.
693, 702 (1973); Amos v. Lane, 605 F. Supp. 775, 777
(N.D. 111. 1985).

IT IS THEREFORE ORDERED that defendant's
motion to dismiss is granted and the complaint is
dismissed. Defendant's motion for sanctions is denied. If
plaintiff believes that any of these defects can be remedied.
(presumably limited to his potential claims under Title VI
and § 1981 and, perhaps less likely, under § 1985), he may
seek to do so by moving for leave to reinstate and to file
an amended complaint within two weeks.

Such a document, which goes beyond the complaint,
is not properly considered on a motion to dismiss,

Since such a document would have no effect on this
case, it is unnecessary to convert this motion to one
for summary judgment.

Discrimination may be so unjustifiable in some
cases as to be violative of the due process clause
of the fifth amendment, which does limit the
federal government. Bolling, supra, 347 U.S. at
499. However, any amendment of the complaint to
invoke the fifth,amendment would be futile, since
Conrail is “basically a private enterprise,” despite
considerable federal involvement, and its actions do
not constitute the necessary “federal action” required
by the fifth amendment. Myron v. Consolidated
Rail Corp., 752 F.2d 50, 54 (2d Cir.1985); see also
Wenzer v. Consolidated Rail Corp., 464 F.Supp.
643, 647-49 (E.D.Pa.), affd mem., 612 F.2d 576
(3d Cir.1979); Anderson v. National R.R. Passenger
Corp. (Amtrak), 754 F.2d 202, 204-05 (7th Cir.1985)
(Amtrak not sufficiently tied to government to
warrant finding of governmental action for purposes
of fifth amendment).

All Citations

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Gordon v. National Archives and Records Administration, --- F.Supp.3d ---- (2017)

2017 WL. 2671931

2017 WL 2671931
Only the Westlaw citation is currently available..
United States District Court,
District of Columbia.

Asa GORDON, Plaintiff,
v.
NATIONAL ARCHIVES AND RECORDS
ADMINISTRATION, David S.
Ferriero, and Oliver Potts, Defendants.

Civil Case No. 16-2458 (RJL)

|
Filed 06/20/2017

| .
Signed 06/19/2017
Attorneys and Law Firms

Asa Gordon, Washington, DC, pro se.

Johnny Hillary Walker, Il, U.S. Attorney's Office,
Washington, DC, for Defendants.

MEMORANDUM OPINION

RICHARD J. LEON, United States District Judge

*1 Pro se plaintiff, Asa Gordon (“Gordon” or
“plaintiff”, filed this action against the National Archives
and Records Administration (““NARA” or “the Agency”)
and two of its officials (collectively, “defendants”) seeking
declaratory and injunctive relief from the way in which
the Agency runs the Electoral College system. Specifically,
he contends that there are eleven states whose state laws
do not require a winner-take-all allocation of electoral
votes, and therefore the Fourteenth Amendment requires
these states to allocate their electoral votes proportionally,
according to the popular vote. This matter is now before
the Court on Defendants' Motion to Dismiss [Dkt. # 7].
Upon consideration of the parties' submissions and the
entire record herein, defendants' motion is GRANTED

and plaintiff's case will be DISMISSED with prejudice. 1

1 On February 10, 2017, plaintiff moved for leave to
file an amended complaint [Dkt. # 12] in an attempt
to bolster the facts supporting his claim of Article ITI
standing. There are no new factual allegations in his

proposed amended complaint, however, that would
alter this Court's ruling on Article ITI standing. His
motion is therefore DENIED as moot. Plaintiff also
filed a motion to present oral argument for summary
judgment [Dkt. # 2]. Because this Memorandum
Opinion dismisses plaintiff's claim with prejudice,
that motion is also DENIED as moot.

BACKGROUND

Plaintiff identifies himself as Executive Director of the
Douglass Institute of Government, an advocacy think
tank. See Complaint at ¢ 7. He is a U.S. citizen, resident
of the District of Columbia, and voter in the 2016
presidential election. Id; Proposed Amended Complaint
at { 14. Gordon alleges that the allocation of presidential
electors has been unconstitutional in some states since
the ratification of the Fourteenth Amendment. See
Complaint at § 10. Specifically, he claims that there are

eleven unbounded states, 7 and pursuant to 2 U.S.C.
§ 6, electors in those states must be apportioned to
the presidential candidates based on the percentage of
the popular vote they received. Jd. Otherwise, Gordon
alleges, these states violate Section 2 of the Fourteenth
Amendment, which penalizes states for abridging the
right of citizens to vote by reducing the number of their
Representatives in Congress. /d at § 18, U.S. CONST.
amend. XIV, § 2.

2 Plaintiff identifies these eleven states as: Alabama,

Arizona, Georgia, Indiana, Iowa, Michigan, North
Carolina, Pennsylvania, South Carolina, Tennessee,
and Wisconsin. See Complaint at ¥ 11.

To remedy this alleged violation, plaintiff seeks an order
requiring that NARA: (1) inform state governors that the
electors must abide by the Fourteenth Amendment during
their December 19 meetings and notify them that reference
to Section 2 of the Fourteenth Amendment should have
been included in the information packet sent to them;
and (2) examine the Certificates of Vote to ensure that
they comply with plaintiff's reading of Section 2 of the
Fourteenth Amendment and reject those that do not. See

‘ Complaint at 9.

*2 On January 3, 2017, Gordon filed a motion for a

‘temporary restraining order and preliminary injunction,

seeking to compel defendants to reject Certificates of
Vote that allocate electoral votes on a winner-take-all
basis where state law does not so require. Pl.'s Mot. for

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Temp. Restraining Order and Preliminary Injunction at
4/5. I heard argument on the motion on January 9, 2017
and denied the motion for a temporary restraining order
as moot. See January 9, 2017 Minute Entry. Plaintiff's
motion for a preliminary injunction is all that remains.

STANDARD OF REVIEW

Article II of the U.S. Constitution restricts federal court
jurisdiction to cover only “cases” and “controversies.”
See Lujan y. Defenders of Wildlife, 504 U.S. 555, 559,
112 S.Ct. 2130, 119 L.Ed.2d 351 (1992). The burden is
on the party invoking federal jurisdiction to show that
he has standing to sue. Jd. at 561, 112 S.Ct. 2130. To
satisfy Article Ill's jurisdictional requirement, a plaintiff
must establish three elements: (1) that he suffered an
injury-in-fact that is concrete and particularized,” and
“actual or imminent, not conjectural or hypothetical”;
(2) that there is a causal connection between the injury
and the conduct complained of that is fairly traceable”
to the action challenged; and (3) that it is likely—as
opposed to “merely speculative’—that the injury will
be redressed by a favorable decision. Id. at 560-61, 112
S.Ct. 2130 (internal quotation marks and alterations
omitted). Because standing is essential to a federal
court's subject matter jurisdiction, the Court must first
determine whether plaintiff has satisfied Article III's
standing requirement before examining the merits of his
complaint. Steel Co. v. Citizens for a Better Env't, 523 U.S.
83, 98, 118 S.Ct. 1003, 140 L.Ed.2d 210 (1998).

ANALYSIS

The problem for Gordon—among others—is that he
has not established an injury sufficient to satisfy Article
III's injury-in-fact requirement. Plaintiffs constitutional
theory is not a new one; he has filed at least seven lawsuits
substantially similar to this one, and each has been

dismissed, with three dismissed for lack of standing. °
But no new facts alleged in the present complaint alter
the fatal shortcomings of his case. Gordon resides—and
votes—only in Washington, D.C., which is not one of the
unbounded states whose electoral systems he challenges.
See Complaint at ff 7, 11. He therefore has suffered
no direct infringement on his own right to vote. Indeed,
as our Circuit noted in one of plaintiff's more recent
Electoral College challenges, Gordon is not injured by the

operation of the [eleven] states' winner-take-all systems
because he does not vote in those states.” Gordon v. Biden,
364 Fed.Appx. 651, 652 (D.C. Cir. 2010) (affirming the
district court's dismissal of Gordon's complaint seeking
to enjoin Vice President Joseph Biden from presiding
over tabulation of five unbounded electoral states that,
by practice, traditionally award presidential electors on
a winner-take-all basis); see also Gordon y. Haas, 828
F.Supp.2d 13, 19 (D.D.C. 2011) (dismissing Gordon's
complaint against the clerk of the United States House of
Representatives for lack of Article III standing). As such,
plaintiff has not suffered a concrete and particularized
injury sufficient to establish Article IIT standing.

3 Gordon's previous related lawsuits include: (1) a
suit against former Vice President Richard Cheney,
Gordon ». Cheney, No. 1:05-cv-00006 (HHK)
(D.D.C. 2005) (voluntarily dismissed on grounds of
mootness); (2) a suit against the mayor of the District
of Columbia, Gordon y. Williams, No. 1:04—cv—
01904 (HHK) (D.D.C. 2005) (dismissed for plaintiff's
failure to respond to show cause order); (3) another
suit against the National Archives and Records
Administration, Gordon v. Nat'l Archives and Records
Administration, No. 1:02-cv-01551 (TPJ) (D.D.C.
2003) (dismissed with prejudice for lack of standing);

. (4) a suit against former Vice President Albert Gore,
Gordon v. Gore, No. 1:00~cv-03112 (RCL) (D.D.C.
2001) (voluntarily dismissed); (5) a suit against former
Senate majority leader Trent Lott, Gordon v. Lott,
1:00-cv-03087 (RCL) (D.D.C. 2000) (voluntarily
dismissed); (6) a suit against former Vice President
Joseph Biden, Gordon v. Biden, 606 F.Supp.2d 11,
13 (D.D.C. 2009) (dismissed for lack of standing),
aff'd 364 Fed. Appx. 651 (D.C. Cir. 2010); and (7) a
suit against the clerk of the United States House of
Representatives, Gordon v. Haas, 828 F.Supp.2d 13,
19 (D.D.C. 2011) (dismissed for lack of standing).

*3 Even if plaintiff could show that he suffered
a particularized injury-in-fact, however, his theory of
causation is fatally flawed because his alleged injury is
caused entirely by independent actions of third parties.
The Supreme Court has made clear that “the ‘case or
controversy’ limitation of Art. III still requires that a
federal court act only to redress injury that fairly can |
be traced to the challenged action of the defendant,
and not injury that results from the independent action
of some third party not before the court.” Simon vy.
E. Kentucky Welfare Rights Org., 426 U.S. 26, 41-
42, 96.8.Ct. 1917, 48 L.Ed.2d 450 (1976). Here, third

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2017 WL 2671934

party states and state officials decide how to allocate
electoral votes, defendants have no role in these decisions.
NARA provides information to state governors and
election officials regarding the law governing the Electoral
College, accepts Certificates of Vote, and reviews those
Certificates for any technical deficiencies. See Defs.' Mot.
to Dismiss, at 6. Crucially, the Agency in no way decides
how the electoral votes from the eleven unbounded states
are allocated, and it has no power to change the way
states allocate their electoral votes. Plaintiff therefore
has failed to plead facts sufficient to satisfy Article III's
causation requirement. And this result should come as
no surprise to plaintiff, as his 2008 complaint against
the Vice President was dismissed for largely the same
reasons. Gordon v. Biden, 606 F.Supp.2d 11, 14 (D.D.C.
2009), aff'd 364 Fed.Appx. 651 (D.C. Cir. 2010) (“Because
Gordon's alleged injury is not ‘fairly traceable’ to the Vice
President's actions, which in fact are purely ministerial,
but rather is attributable to the actions of third-party

states and state officials, he fails to satisfy the causation
element of standing.”).

Therefore, because Gordon has failed to establish an
Article II injury, and because his alleged injury is
not fairly traceable to defendants’ actions, his claim
fails for lack of standing. Accordingly, I need not—
and will not reach the merits of Gordon's claims. See
Steel Co., 523 U.S. at 98, 118 S.Ct. 1003 (“[There are]
two centuries of jurisprudence affirming the necessity
of determining jurisdiction before proceeding to the
merits.”). For all of the foregoing reasons, plaintiff's
complaint is DISMISSED with prejudice and his motion
for a preliminary injunction is DENIED. A separate
order consistent with this decision accompanies this
Memorandum Opinion.

All Citations

--- F.Supp.3d ----, 2017 WL 2671931

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Strunk v. U.S. House of Representatives, 24 Fed.Appx. 21 (2001)

24 Fed.Appx. 21
This case was not selected for
publication in West's Federal Reporter.
United States Court of Appeals,
Second Circuit.

Christopher Earl STRUNK, Plaintiff—Appellant,
v. .
UNITED STATES HOUSE OF REPRESENTATIVES,
Dennis Hastert, Richard Gephardt, Bernard
Saunders, Adolphus Towns, United States
Department of Commerce, Bureau of the Census,
William M. Daley, President of the United States,
United States Census Monitoring Board, Mark
Johnson, Fred Asbell, The State of New York,
Attorney General, Governor, Secretary, Senator Pro
Tempore, Assembly Speaker, New York Republican
State Committee, New York State Democratic
Committee Dick Armey, Defendant—Appellees.

No. 01-6021.

|

Nov. 8, 2001.

Voter brought action for injunctive relief to prevent
seating of New York's electors for the presidential
election. The United States District Court for the Eastern
District of New York, Jack B. Weinstein, J., denied voter
injunctive relief. Voter appealed. The Court of Appeals
held that voter's-challenge to selection process by which
electors were chosen was moot.

Affirmed.

West Headnotes (3)

[1] Injunction

€= Mootness and ripeness; ineffectual
remedy
Injunction

€= Elections, Voting, and Political Rights
Voter's request for injunctive relief that
challenged New York's method of selecting
presidential electors was moot, where the
presidential electors were already seated and

the President and Vice-President of the United
States had already been elected, U.S.C.A.
Const. Art. 2, §1, cl. 1.

- Cases that cite this headnote

2] Injunction
é» Mootness and ripeness;ineffectual
remedy

Injunction
é Nominations and primary elections

Voter's request for injunctive relief that
challenged New York's method of selecting
presidential electors was not a controversy
capable of repetition, yet evading review, and
thus exception to mootness doctrine did not
apply, although the same controversy could
arise In connection with next presidential
election, where voter could file a timely
petition for relief at that time. U.S.C.A.
Const. Art. 2, § 1, cl. 1.

Cases that cite this headnote

[3] United States
« Presidential electors
The individual citizen has no federal
constitutional right to vote for electors for
the president of the United States unless and
until the state legislature chooses a statewide
election as the means to implement its power
to appoint members of the Electoral College.
U.S.C.A. Const. Art. 2, § 1, cl. 1.

Cases that cite this headnote

#22 Appeal from the United States District Court for the
Eastern District of New York, Jack B. Weinstein, Judge.

Attorneys and Law Firms
Christopher Earl Strunk, Brooklyn, NY, pro se.

David L. Goldberg, Assistant United States Attorney;
Varuni Nelson, of counsel, for Loretta A. Lynch, United
States Attorney for the Eastern District of New York,
Brooklyn, NY, for appellees.

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Strunk v. U.S. House of Representatives, 24 Fed.Appx. 21 (2001)

Present VAN GRAAFEILAND, WINTER, and SACK,
Circuit Judges.

SUMMARY ORDER

**1 UPON DUE CONSIDERATION, IT IS HEREBY

ORDERED, ADJUDGED AND DECREED that the
judgment of December 26, 2000 be, and it hereby is,
AFFIRMED.

The plaintiff Christopher Earl Strunk filed an order to

show cause why a preliminary injunction and temporary ~

restraining order should not be granted pursuant to
Fed.R.Civ.P. 65(a) and (b), preventing the defendants
from seating the State's electors for the 2000 presidential
election at the December 18, 2000 meeting of the electoral
college. Strunk contends that New York's method
of selecting presidential electors, whereby all of the
State's electoral college positions are given to individuals
representing the candidate who wins the State's popular
vote, violates inter alia the Equal Protection Clause of the
Fourteenth Amendment; the Privileges and Immunities
Clause of U.S. Const. Art. IV, §.2; the right to a republican
form of government under U.S. Const. Art. IV, § 2, cl.
5; the First Amendment; New York's Constitution; and
New York statutory and common law. The defendants
‘made oral motions, pursuant to-Fed.R.Civ.P. 12(b)(6),
to dismiss all of the plaintiffs claims, and the district
court granted the motions. The district court held that
states have authority to determine the method of selecting
presidential electors and that Strunk offered no evidence
of fraud as a predicate for judicial intervention. Strunk's
subsequent motion for reconsideration was denied.

fy} I
Strunk's claims. Strunk's request *23 for injunctive relief
is moot because the presidential electors were already
seated at the December 18, 2000 meeting of the electoral
college and the President and Vice President of the United

The district court was correct to reject all of

States have been elected. See United States v. M ercurris,
192 F.3d 290, 293 (2d Cir.1999). Thus, it is “impossible
for the court to grant any effectual relief whatever to the
prevailing party.” In re Kurtzman, 194 F.3d 54, 58 (2d
Cir.1999); see also Spencer vy. Kemna, 523 U.S. 1, 7, 118
S.Ct. 978, 140 L.Ed.2d 43 (1998); Fox v. Bd. of Trs. of —
the State Univ. of N.¥., 42 F.3d 135, 140 Qd Cir.1994),
cert. denied, 515 U.S. 1169, 115 S.Ct. 2634, 132 L.Ed.2d
873 (1995). Nor does the instant case fall within the
limited exception wherein a controversy may be “capable
of repetition, yet evading review.” Weinstein v. Bradford,
423 U.S. 147, 149, 96 S.Ct. 347, 46 L.Ed.2d 350 (1975).
Although the same controversy may arise in connection
to the 2004 elections, Strunk can file a timely petition for
relief at that time.

[3] | The district court in this instance reached the merits of
the plaintiff's claims, and rejected all of them. We note that
the district court correctly stated the proposition of law
that states are constitutionally empowered to determine
how to select electors: “Each State shall appoint, in such
Manner as the Legislature thereof may direct, a Number
of Electors, equal to the whole Number of Senators and
Representatives to which the State may be entitled in
the Congress.” U.S. Const. Art. Tl, § 1, cl. 2 (emphasis

‘added). Thus, “[t]he individual citizen has no federal

constitutional right to vote for electors for the president
of the United States unless and until the state legislature
chooses a statewide election as the means to implement its
power to appoint members of the Electoral College.” Bush
y. Gore, 531 U.S. 98, 104, 121 S.Ct. 525, 148 L.Ed.2d 388
(2000) (citing U.S. Const. Art. IE § 1); see also McPherson
y. Blacker, 146 U.S. 1, 35, 13 S.Ct. 3, 36 L.Ed. 869 (1892).

**2 For the foregoing reasons, the judgment of the
District Court is hereby AFFIRMED.

All Citations

24 Fed. Appx. 21, 2001 WL 1412533

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